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UN|TED STATES D|STR|CT COURT
ALBUQUERQUE, NEW MEX|CO

UNITED STATES DISTRICT COURT , MAR 2 2 2019
FOR THE DISTRICT OF NEW MEXICO

M|TCHELL R. ELFERS
CLERK

UNITED STATES OF AMERICA,
Plaintiff,

v.

STERLING ISLANDS, INC.,
AL-ZUNI GLOBAL JEWELRY, INC.,
JAWAD “JOE” KHALAF, Case No. CR 18-4176 JB
NADER KHALAF,

NASHAT “NASH” KHALAF,
ZAHER MOSTAFA, and
TAHA “TOM” SHAWAR

 

Defendants.

 

PROPOSED ORDER GRANTING DEFENDANTS’
UNOPPOSED MOTION TO CONTINUE HEARING

THIS MATTER, having come before the Court upon the Defendants’ Unopposed Motion to
Continue the Hearing set for March 26, 2019, and the Court having reviewed and considered the

Motion, the Court ORDERS as follows:

1. The March 26, 2019, hearing at 8:30 a.m. is vacated.
2. The hearing is rescheduled for April , 2019, at

a.m./p.m.

 

   
 

.,. BROWNING
D STATES D SRICT JUDGE

 

